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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


   FERYAL MOHAMMAD AND WAJDAN                           CASE NO.: 1:18cv23102
   MOHAMMAD,
       Plaintiffs,

   vs.

   SYNCHRONY BANK,
       Defendant.
                                                /

                                  NOTICE OF SETTLEMENT

          COME NOW, Plaintiffs, FERYAL MOHAMMAD and WAJDAN MOHAMMAD

   (“Plaintiffs”), by and through undersigned counsel, and hereby file this Notice of Settlement,

   and state that Plaintiffs and Defendant, SYNCHRONY BANK, have come to an amicable

   settlement agreement.

   Date: December 28, 2018
                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 28th day of December, 2018, I electronically filed
   the foregoing document with the Clerk of Court using CM/ECF. I also certify that the
   foregoing document is being served this day on all counsel of record or pro se parties either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
   manner for those counsel or parties who are not authorized to receive electronically Notices of
   Electronic Filing.

                                              /s/ Christopher W. Boss
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